        CASE 0:21-cr-00108-PAM-TNL Doc. 321 Filed 04/08/22 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,                    )
                                              )
                      Plaintiff,              )
                                              )     STATEMENT OF REDACTION
                 v.                           )
                                              )
 2. TOU THAO,                                 )
 3. J. ALEXANDER KUENG, and                   )
 4. THOMAS KIERNAN LANE,                      )
                                              )
                      Defendants.             )
                                              )

       In accordance with Local Rule 5.5, the government has reviewed the transcript of

trial proceedings held on January 25, 2022, filed on April 1, 2022, in the above-captioned

matter; filed a timely Notice of Intent to Request Redaction; and located personal

identifiers (PIs) or other information in the transcripts that must be redacted under Fed. R.

Crim. P. 49.1.

       The government hereby requests the court reporter redact the following PIs or other

information in the transcript.

    Description of PI to be        Page and Line    Redacted PI to Read As (e.g.
    Redacted                       Number of PI     XXX-XX-1234)
                                   to be Redacted
    Personal and/or Home           Page 463, line   “I live at XXXX XXXXX XXX
    Address                        4                XXXXXXX XXXXXX.”

       The government understands that the redacted version of the transcript will be filed

within 31 days of the date that the original transcript was filed but that the court reporter

will not provide me a copy of the redacted transcript. The government understands that if
        CASE 0:21-cr-00108-PAM-TNL Doc. 321 Filed 04/08/22 Page 2 of 2




it purchased a copy of the transcript from the court reporter, it may remotely access the

electronic version of the redacted transcript on CM/ECF, and that PACER fees will apply

if it accesses the transcript electronically. The government also understands that after the

90-day restriction period, the redacted version of the transcript may be made available to

the public on PACER.


Dated: April 8, 2022                             Respectfully submitted,
 ANDREW M. LUGER                                 KRISTEN CLARKE
 United States Attorney                          Assistant Attorney General
                                                 Civil Rights Division
 s/ Evan B. Gilead
 BY: EVAN B. GILEAD                              /s/ Samantha Trepel
 Assistant U.S. Attorney                         BY: SAMANTHA TREPEL
 Attorney ID No. 95971                           Special Litigation Counsel
                                                 Attorney ID No. 992377 DC




                                             2
